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                         15
                                                           UNITED STATES DISTRICT COURT
                         16
                                                         NORTHERN DISTRICT OF CALIFORNIA
                         17                                   SAN FRANCISCO DIVISION

                         18
                                 NETLIST, INC.,                        )    Case No. 3:09-cv-05718-RS
                         19                                            )
                                                      Plaintiff,       )
                         20                                            )
                                       v.                              )
                         21                                            )
                                 GOOGLE LLC,                           )
                         22                                            )
                                                      Defendant.       )
                         23                                            )
                         24 JOINT STIPULATION AND [PROPOSED] ORDER RE: EXPEDITING BRIEFING AND
                              HEARING REGARDING DEFENDANT GOOGLE LLC’S MOTION TO STAY AND
                         25 RESCHEDULING CASE MANAGEMENT CONFERENCE AND HEARING DATE FOR

                         26 PLAINTIFF NETLIST, INC.’S MOTION TO AMEND INFRINGEMENT CONTENTIONS

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                                                                                        JOINT MOTION TO EXPEDITE AND RESCHEDULE
                                                                                                          CASE NO. 3:09-cv-05718-RS
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                            1         Pursuant to Civil Local Rules 6-1 and 6-2, Plaintiff Netlist Inc. (“Plaintiff”) and Defendant

                            2 Google LLC (“Google” or “Defendant”), through their respective attorneys, declare as follows:

                            3         WHEREAS, pending before the Court are Netlist’s Motion to Amend Infringement

                            4 Contentions (Dkt. 269) and Google’s Motion to Stay (Dkt. 292) pending resolution of Samsung

                            5 Electronics Co., Ltd. et al. v. Netlist, Inc., No. 21-cv-1453-RGA (D. Del.).

                            6         WHEREAS, the Court set the case management conference to June 23, 2022. Dkt. 258.

                            7         WHEREAS, the Court set the hearing date for Netlist’s Motion to Amend Infringement

                            8 Contentions for June 23, 2022.

                            9         WHEREAS, the hearing date for Google’s Motion to Stay is currently noticed for July 14,

                         10 2022.

                         11           WHEREAS, the deadline for Netlist to file an opposition or response to Google’s Motion to

                         12 Stay is currently set for June 17, 2022, and the deadline for Google to file the reply is currently set

                         13 for June 24, 2022.

                         14           WHEREAS, the parties agree that it would be more efficient for the Court to hear all motions

                         15 and hold the case management conference on the same day.

                         16           WHEREAS, to facilitate a hearing of all motions on the same day, the parties have agreed

                         17 to expedite the briefing schedule for Google’s Motion to Stay as set forth below. The parties have

                         18 also agreed, subject to the Court’s approval, to have all motions heard on either June 23, 2022 (the

                         19 current date for the case management conference and the hearing on Netlist’s motion to amend) or

                         20 June 30, 2022, whichever is more convenient for the Court.

                         21           WHEREAS, the following is a list of previous time modifications to this Court’s March 11,

                         22 2021 Order Setting Deadlines (Dkt. 117) that have occurred in this case: the briefing of the issue of

                         23 intervening rights (Dkt. 150); the briefing on Defendant’s Motion To Strike (Dkt. 167); the hearing

                         24 dates for Google’s Motion to Strike and Motion for Summary Judgment on Absolute Intervening

                         25 Rights (Dkt. 192); Defendant’s filing of sealing declarations in support of Plaintiff’s administrative

                         26 motions to file under seal (Dkt. 198); continuing the November 10, 2021 hearing on all outstanding

                         27 motions to January 12, 2022 (Dkt. 220); vacating the January 12, 2022 hearing on all outstanding

                         28 motions (Dkt. 221); the parties’ re-noticing of hearing dates for all outstanding motions to March 3,
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                            1 2022 (Dkt. 229, 230); and extending Netlist’s deadline to file its reply in support of the motion to

                            2 transfer (Dkt. 239).

                            3          NOW THEREFORE, pursuant to Civil Local Rules 6-1 and 6-2, the parties hereto stipulate

                            4 and request that:

                            5          1. The deadline for Netlist to file an opposition or response to Google’s Motion to Stay will
                                          be expedited and set to June 15, 2022.
                            6
                                       2. The deadline for Google to file the reply in support of Google’s Motion to Stay will be
                            7             expedited and set to June 21, 2022.
                            8
                                       3. The case management conference, the hearing on Netlist’s Motion to Amend
                            9             Infringement Contentions (Dkt. 269), and the hearing on Google’s Motion to Stay (Dkt.
                                          292) will be rescheduled to June 23 or June 30, 2022, whichever is more convenient to
                         10               the Court.
                         11            4. No other changes will be made to the case schedule.
                         12            IT IS SO STIPULATED.
                         13

                         14

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                         16
                                 DATED: June 9, 2022                      Respectfully submitted,
                         17
                                                                                              IRELL & MANELLA LLP
                         18

                         19                                                 By   /s/ Jason G. Sheasby
                         20                                                    Jason G. Sheasby
                                                                               Attorney for Plaintiff
                         21                                                    Netlist, Inc.

                         22 DATED: June 9, 2022                           Respectfully submitted,
                         23                                                                   QUINN EMANUEL URQUHART
                         24                                                                   & SULLIVAN

                         25
                                                                            By /s/ David Perlson
                         26                                                   David Perlson
                                                                              Attorney for Defendant
                         27
                                                                              Google LLC
                         28
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                            1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

                            2          I, Jason G. Sheasby, attest that concurrence in the filing of this document has been obtained
                            3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

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                            6                                                  By /s/ Jason G. Sheasby
                                                                                    Jason G. Sheasby
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                            1                                        [PROPOSED] ORDER

                            2          Pursuant to stipulation of the parties, the Court hereby ORDERS:
                            3          1. The deadline for Netlist to file an opposition or response to Google’s Motion to Stay will
                                          be June 15, 2022.
                            4
                                       2. The deadline for Google to file the reply in support of Google’s Motion to Stay will be
                            5
                                          June 21, 2022.
                            6
                                       3. The case management conference, hearing on Netlist’s Motion to Amend Infringement
                            7             Contentions (Dkt. 269), and hearing on Google’s Motion to Stay (Dkt. 292) will be
                                          rescheduled to June 23 or June 30, 2022, whichever is more convenient to the Court.
                            8
                                       4. No other changes will be made to the case schedule.
                            9
                                       IT IS SO ORDERED.
                         10

                         11
                                 Dated: ___________, 2022                    __________________________________________
                         12                                                           Honorable Richard Seeborg
                         13                                                        Chief United States District Judge

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